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                                                            USDC SDNY
UNITED STATES DISTRICT COURT                                DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                               ELECTRONICALLY FILED
--------------------------------------------------------X   DOC #: __________________
                                                            DATE FILED: __10/2/2020_______
UNITED STATES OF AMERICA


                 v.                                                 10-CR-162 (KMW)
                                                                         ORDER
SABIRHAN HASANOFF,

                                   Defendant.
--------------------------------------------------------X

KIMBA M. WOOD, United States District Judge:

         Defendant Sabirhan Hasanoff has filed a motion for compassionate release based on his

family circumstances, his post-sentencing rehabilitation, and the COVID-19 pandemic.          (ECF

No. 257.)     His sister previously submitted an administrative request on his behalf to the Bureau

of Prisons (“BOP”), asking for Compassionate Release/Reduction in Sentence based upon the

death of his father, who provided for Mr. Hasanoff’s wife and children, and Mr. Hasanoff’s

post-sentencing rehabilitation.       On June 1, 2020, Mr. Hasanoff himself asked for an update on

his sister’s request.     (Gov’t Opp’n at Ex. 1, ECF No. 260.)     His sister’s request was denied on

July 13, 2020. (Id. at Ex. 2.)        Mr. Hasanoff himself also submitted an administrative request to

be placed in home confinement based on risk of COVID-19 (which was denied on August 25,

2020).    (Id. at 5-6.)    The Government opposes Mr. Hasanoff’s motion.

         As a supplement to his motion, Mr. Hasanoff shall file, as soon as practicable, an

explanation of why his mother cannot be cared for by a home health aide, and the feasibility of

his mother living with his wife.

         As a supplement to its opposition, the Government shall confirm that the Warden denied

the request for Mr. Hasanoff to be given Compassionate Release/Reduction in Sentence on
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account of his father’s death and his own rehabilitation, and that the Warden has denied his

request to be placed on home confinement on account of the risk of his infection by COVID-19.

The Government shall provide the Court with copies of the BOP records, referenced at page 5 of

its opposition memorandum, regarding Mr. Hasanoff’s request for home confinement. (Id. at

5.)

       SO ORDERED.

Dated: New York, New York
       October 2, 2020
                                                              /s/ Kimba M. Wood
                                                               KIMBA M. WOOD
                                                            United States District Judge




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